     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 1 of 31 Page ID #:829



 1   NICOLA T. HANNA
     United States Attorney
 2   BRANDON D. FOX
     Assistant United States Attorney
 3   Chief, Criminal Division
     BRYANT Y. YANG (Cal. Bar No. 252943)
 4   Assistant United States Attorney
     International Narcotics, Money
 5    Laundering, & Racketeering Section
          1400 United States Courthouse
 6        312 North Spring Street
          Los Angeles, California 90012
 7        Telephone: (213) 894-0166
          Facsimile: (213) 894-0142
 8        E-mail:     bryant.yang@usdoj.gov

 9   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
10

11                           UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. CR 8:17-00076-CJC

14             Plaintiff,                     GOVERNMENT’S OPPOSITION TO MOTION
                                              TO DISMISS
15                    v.
                                              Hearing Date: October 13, 2020
16   JEFFREY OLSEN,

17             Defendant.

18

19         Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorney Bryant Y. Yang,
22   hereby submits its opposition to the motion to dismiss filed by
23   defendant JEFFREY OLSEN (“defendant”).
24   ///
25   ///
26   ///
27

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 2 of 31 Page ID #:830



 1        This opposition is based upon the attached memorandum of points

 2   and authorities; the files and records in this case, and such further

 3   evidence and argument as the Court may permit.

 4   Dated: September 22, 2020            Respectfully submitted,

 5                                        NICOLA T. HANNA
                                          United States Attorney
 6
                                          BRANDON D. FOX
 7                                        Assistant United States Attorney
                                          Chief, Criminal Division
 8

 9                                              /s/
                                          BRYANT Y. YANG
10                                        Assistant United States Attorney

11                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 3 of 31 Page ID #:831



 1                                 TABLE OF CONTENTS
 2   DESCRIPTION                                                                    PAGE

 3   Contents
 4   MEMORANDUM OF POINTS AND AUTHORITIES................................5

 5   I.    INTRODUCTION...................................................5

 6   II.   STATEMENT OF FACTS.............................................6

 7   III. ARGUMENT......................................................11

 8         A.   Speedy Trial Act.........................................11

 9              1.    Legal Standard......................................11

10              2.    No Speedy Trial Act Violation Has Occurred..........12

11              3.    Seriousness Of The Offenses.........................12

12              4.    Facts And Circumstances Leading To Dismissal........15

13              5.    Impact Of Reprosecution On The Administration Of
                      Justice.............................................19
14

15         B.   Sixth Amendment..........................................21

16              1.    Legal Standard......................................21

17              2.    Length Of Delay.....................................22

18              3.    The Reason For The Delay............................23

19              4.    Defendant’s Assertion Of His Right..................25

20              5.    Prejudice To Defendant..............................26

21   IV.   CONCLUSION....................................................28

22

23

24

25

26

27

28

                                             1
     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 4 of 31 Page ID #:832



 1                               TABLE OF AUTHORITIES
 2   DESCRIPTION                                                                    PAGE

 3   CASES
 4   Barker v. Wingo,
 5    407 U.S. 514 (1972) ...................................... 21, 24, 25
 6   Doyle v. Law,
 7    464 F. App'x 601 (9th Cir. 2011) ................................. 22
 8   Harmelin v. Michigan,
 9    501 U.S. 957 (1991) .............................................. 12
10   McNeely v. Blanas,
11    336 F.3d 822 (9th Cir. 2003) ..................................... 24
12   Taylor v. Lewis,
13    460 F.3d 1093 (9th Cir. 2006) .................................... 13
14   United States v. Arango,
15    879 F.2d 1501 (7th Cir. 1989) .................................... 18
16   United States v. Baker,
17    63 F.3d 1478 (9th Cir. 1995) ..................................... 23
18   United States v. Beamon,
19    992 F.2d 1009 (9th Cir. 1993) .................................... 27
20   United States v. Christie,
21    10–00384SOM, 2010 WL 2900371 (D. Haw. July 20, 2010) ............. 13
22   United States v. Clymer,
23    25 F.3d    (9th Cir. 1994) ............................. 14, 17, 18, 19
24   United States v. Corona-Verbera,
25    509 F.3d 1105 (9th Cir. 2007) .................................... 28
26   United States v. Diaz-Nivar,
27    No. CR 20-38-JD, 2020 WL 3848200 (D.N.H. July 8, 2020) ........... 20
28   United States v. Gregory,
                                             1
     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 5 of 31 Page ID #:833



 1    322 F.3d 1157 (9th Cir. 2003) ................................ passim

 2   United States v. Guerrero,

 3    756 F.2d 1342 (9th Cir. 1984) .................................... 27

 4   United States v. Haj-Hamed,

 5    549 F.3d 1020 (6th Cir. 2008) .................................... 14

 6   United States v. Hill,

 7    254 F. App’x 405 (5th Cir. 2007) ................................. 14

 8   United States v. King,

 9    483 F.3d 969 (9th Cir. 2007) ................................. 22, 24

10   United States v. Krug,

11    666 F. App'x 665 (9th Cir. 2016) ................................. 27

12   United States v. Lam,

13    262 F.3d 1033 (9th Cir. 2001) .................................... 25

14   United States v. Lewis,

15    611 F.3d 1172 (9th Cir. 2010) .................................... 13

16   United States v. Loud Hawk,

17    474 U.S. 302 (1986) .......................................... 18, 25

18   United States v. Ly,

19    No. CR-00-0118, 2001 WL 1456751 (N.D. Cal. Nov. 14, 2001) .... 14, 17

20   United States v. Martinez-Alcala,

21    578 F. App'x 650 (9th Cir. 2014) ................................. 26

22   United States v. Medina,

23    524 F.3d 974 (9th Cir. 2008) ......................... 13, 15, 16, 18

24   United States v. Myers,

25    930 F.3d 1113 (9th Cir. 2019) .................................... 26

26   United States v. Nance,

27    666 F.2d 353 (9th Cir. 1982) ..................................... 23

28   United States v. Nejdl,

                                             2
     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 6 of 31 Page ID #:834



 1    773 F. Supp. 1288 (D. Neb. 1991) ............................. 15, 17

 2   United States v. Pena-Carrillo,

 3    46 F.3d 879 (9th Cir. 1995) ...................................... 20

 4   United States v. Rutgard,

 5    116 F.3d 1270 (9th Cir. 1997) .................................... 14

 6   United States v. Sandoval,

 7    No. 2:05-CR-348-JCM, 2009 WL 348269 (D. Nev. Feb. 6, 2009) ....... 15

 8   United States v. Sears, Roebuck & Co.,

 9    877 F.2d 734 (9th Cir. 1989) ..................................... 22

10   United States v. Shetty,

11    130 F.3d 1324 (9th Cir.1997) ..................................... 24

12   United States v. Simmons,

13    536 F.2d 827 (9th Cir. 1976) ..................................... 28

14   United States v. Stewart,

15    390 F. App'x 657 (9th Cir. 2010) ................................. 19

16   United States v. Story,

17    131 F.3d 150 (9th Cir. 1997) ................................. 16, 19

18   United States v. Tanh Huu Lam,

19    251 F.3d 852 (9th Cir.) ...................................... 24, 26

20   United States v. Taylor,

21    487 U.S. 326 (1988) .................................. 11, 12, 15, 21

22   United States v. Townsend,

23    897 F.2d 989 (9th Cir. 1990) ..................................... 13

24   United States v. Turner,

25    926 F.2d 883 (9th Cir. 1991) ..................................... 25

26   United States v. White,

27    895 F.2d 1419 (9th Cir. 1990) ................................ 15, 18

28   United States v. Williams,

                                             3
     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 7 of 31 Page ID #:835



 1    576 F.3d 1149 (10th Cir. 2009) ................................... 19

 2   STATUTES
 3   18 U.S.C. § 3161.................................................... 6
 4   18 U.S.C. § 3161(c)(1)............................................. 11
 5   18 U.S.C. § 3161(h)................................................ 12
 6   18 U.S.C. § 3162(a)(2)............................................. 12
 7   21 U.S.C. §§ 841(a)(1).......................................... 6, 13
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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 8 of 31 Page ID #:836



 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.     INTRODUCTION
 3          On July 6, 2017, a grand jury indicted defendant JEFFREY OLSEN

 4   (“defendant”) on 35 counts, alleging that defendant prescribed and

 5   distributed large amounts of oxycodone, amphetamine salts,

 6   alprazolam, and hydrocodone to confidential sources, an undercover

 7   agent, and numerous addicts without a legitimate medical purpose over

 8   the course of three years.      (Dkt No. 1.)     After defendant requested

 9   eight continuances of the trial date, including one continuance over

10   the objection of the government, and after substituting counsel 18

11   months after his initial appearance, defendant now moves for the

12   dismissal of the indictment with prejudice based on alleged

13   violations of the Speedy Trial Act and the Sixth Amendment.

14          The Court should deny the instant motion because it is

15   premature.   The time limit under the Speedy Trial Act has not yet

16   run.   Defendant cannot prospectively move to dismiss based on a

17   violation that has not occurred.       However, if the Court is inclined

18   to dismiss the case, the Court should dismiss without prejudice.               The

19   seriousness of the drug-distribution charges, the facts and

20   circumstances leading to the dismissal, including the COVID-19

21   pandemic, and the impact of reprosecution on the administration of

22   justice all weigh in favor of dismissal without prejudice.

23   Similarly, defendant’s Sixth Amendment arguments are unpersuasive

24   because the length of the delay in this case is not excessive and the

25   delay is attributable to defendant’s own conduct, specifically, his

26   successive requests for continuances and his decision to substitute

27   counsel.   Moreover, defendant cannot establish actual prejudice.

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 9 of 31 Page ID #:837



 1   II.     STATEMENT OF FACTS
 2           On July 6, 2017, a grand jury indicted defendant JEFFREY OLSEN

 3   (“defendant”) on 34 counts for prescribing and distributing large

 4   amounts of oxycodone, amphetamine salts, alprazolam, and hydrocodone

 5   to confidential sources, an undercover agent, and numerous addicts

 6   without a legitimate medical purpose over the course of three years.

 7   (Dkt No. 1.)    The grand jury also indicted defendant on one count for

 8   providing false and fraudulent material information to the Drug

 9   Enforcement Administration (“DEA”) in an application to obtain a

10   federal controlled substance registration.         (Id.)   Of the 34 drug-

11   distribution counts, 25 counts that relate to oxycodone and

12   amphetamine salts, Schedule II controlled substances, carry a maximum

13   penalty of 20 years.     21 U.S.C. §§ 841(a)(1), (b)(1)(C).        Two counts

14   relating to hydrocodone, then a Schedule III narcotic drug controlled

15   substance, carry a maximum penalty of 10 years, and seven counts

16   relating to alprazolam, a Schedule IV controlled substance, carry a

17   maximum penalty of 5 years.      Id. §§ 841(a)(1), (b)(1)(E), (b)(2).

18   Defendant was arraigned and made his first appearance before a

19   judicial officer of the court on July 11, 2017.          (Dkt No. 10.)     The

20   Speedy Trial Act, 18 U.S.C. § 3161, originally required that the

21   trial commence on or before September 19, 2017.

22           On July 11, 2017, the Court set a trial date of September 5,

23   2017.    (Dkt No. 10.)   The parties filed four stipulations to continue

24   the trial date and, in each stipulation, the parties agreed that

25   defendant was making the request for the continuance (Dkt Nos. 18,

26   20, 22, 25 [“defendant moves to continue the trial date” and

27   “[d]efendant requests the continuance”].)         Pursuant to stipulations

28   filed by the parties, the Court continued the trial date from

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 10 of 31 Page ID #:838



 1   September 5, 2017, to June 18, 2019.        (Dkt Nos. 19, 21, 23, 26.)          In

 2   the Orders, the Court found the period from September 5, 2017, to

 3   June 18, 2019, inclusive, to be excludable under the Speedy Trial

 4   Act.   (Id.)

 5          On February 21, 2019, defense counsel Courtney E. Pilchman and

 6   Anita A. Kay filed an ex parte application to withdraw as defense

 7   counsel.    (Dkt No. 27.)    In the application, prior counsel explained

 8   that defendant had terminated their attorney-client relationship on

 9   January 15, 2019, over 18 months after defendant’s initial

10   appearance.    (Dkt No. 27, at 2.)      On March 1, 2019, the Court granted

11   the motion to withdraw and appointed the Federal Public Defender as

12   defense counsel.     (Dkt No. 28.)

13          The parties filed another stipulation to continue the trial

14   date, which stated that defendant was making the request for the

15   continuance (Dkt No. 34.)       On May 16, 2019, the Court continued the

16   trial date from June 18, 2019, to November 5, 2019.           (Dkt No. 35.)

17   The Court found the period from June 18, 2019, to November 5, 2019,

18   inclusive, excludable under the Speedy Trial Act.           (Id.)

19          On August 20, 2019, defendant filed an ex parte application to

20   continue the trial date, which the government opposed.            (Dkt No. 36.)

21   In the application, defense counsel declared that the discovery in

22   the case was complicated and large, involving “77,000 files which is

23   approximately 41 GB” relating to “conduct that spans over three

24   years,” “include[ing] recordings of undercover patient visits and

25   thousands of prescriptions for patients named in the Indictment.”

26   (Id. at 1.)    She explained that “it was extremely difficult for [her]

27   to review this amount of discovery and prepare for a trial,” which is

28   why the parties filed a stipulation to continue the trial from June

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 11 of 31 Page ID #:839



 1   10, 2019, to November 5, 2019.       (Id.)     Defense counsel declared that

 2   she needed additional time to “identify[] and retain[] an expert,”

 3   and to get the expert knowledgeable about the case.           (Id. at 2.)

 4         On September 3, 2019, at the hearing on the application, the

 5   government objected to a continuance and argued that the trial should

 6   proceed on November 5, 2019.       (Dkt No. 51, Tr. at 4-5.)       Over the

 7   government’s objection, the Court granted defendant’s ex parte

 8   application and continued the trial date to May 5, 2020.            (Dkt Nos.

 9   39, 40.)    The Court explained, “It's a serious case and I want to

10   make sure she feels prepared and Mr. Olsen feels comfortable that his

11   counsel is prepared.”       (Dkt. No. 51, Tr. at 8.)     The Court confirmed

12   with defendant that he wanted to waive his right to a speedy trial:

13   “I just want to confirm with you, you realize that, sir, you have the

14   right to go to trial in November of this year, November 5th, 2019,

15   and your lawyer . . . has indicated that . . . she needs time until

16   May of next year to be ready for trial.         Are you agreeable to

17   continuing your trial to May of next year so she can prepare?”             (Id.)

18   Defendant replied, “Yes, I am.”        (Id.)   The Court ordered the parties

19   to file a stipulation to move the trial date from November 5, 2019,

20   to May 5, 2020.     (Id.)   On September 19, 2019, the Court issued an

21   order finding the time from November 5, 2019, to May 5, 2020,

22   inclusive, to excludable.       (Dkt No. 42.)

23         On March 13, 2020, the Court entered a General Order suspending

24   jury selection and jury trials scheduled to begin before April 13,

25   2020, because of the Coronavirus.        C.D. Cal. General Order No. 20-02,

26   In Re: Coronavirus Public Emergency, Order Concerning Jury Trials and

27   Other Proceedings (March 13, 2020).         On April 13, 2020, the Court

28   entered a General Order further suspending jury selection, jury

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 12 of 31 Page ID #:840



 1   trials, and meetings of the grand juries until June 1, 2020.             C.D.

 2   Cal. General Order No. 20-05, In Re: Coronavirus Public Emergency,

 3   Further Order Concerning Jury Trials and Other Proceedings (April 13,

 4   2020).   On May 28, 2020, the Court entered a General Order to

 5   continue suspending jury selection and jury trials.           C.D. Cal.

 6   General Order No. 20-08, In Re: Coronavirus Public Emergency, Order

 7   Concerning Phased Reopening of the Court (May 28, 2020).            On August

 8   6, 2020, the Court entered a General Order closing the Courthouse to

 9   the public and further suspending jury selection and jury trials.

10   C.D. Cal. General Order No. 20-09, In Re: Coronavirus Public

11   Emergency, Order Concerning Phased Reopening of the Court (August 6,

12   2020).

13         During this period when criminal jury trials were suspended, the

14   parties filed two stipulations to continue the trial date from May 5,

15   2020, to July 21, 2020, and from July 21, 2020, to October 13, 2020.

16   (Dkt Nos. 43, 45.)     The stipulations again provide that defendant was

17   making the requests to continue.        (Id.)   The Court moved the trial

18   date and found the time from May 5, 2020, to October 13, 2020,

19   inclusive, to be excluded in computing the time within which the

20   trial must commence under the Speedy Trial Act.          (Dkt Nos. 44, 46.)

21         On August 20, 2020, the Court held a status conference hearing.

22   At the hearing, defense counsel stated that defendant wanted to

23   proceed to trial on October 13, 2020.         (Dkt No. 52, Tr. at 3.)      The

24   government argued that, pursuant to General Order 20-09 and the

25   Speedy Trial Act, the ends of justice would be served by a

26   continuance.    (Id. at 4.)     The Court explained that it disagreed with

27   the decision by the majority of the district court judges to further

28   suspend jury trials and that it does not believe the COVID-19

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 13 of 31 Page ID #:841



 1   pandemic justified a suspension of the right to a speedy trial.             (Id.

 2   at 6-7.)    The Court concluded that the forthcoming Speedy Trial Act

 3   violation is not because of the government:

 4
           “It breaks my heart that it’s the Court that's saying we
 5         will not have jury trials. It breaks my heart. And I hear
           you. You’ve been ready for trial in this case a long time.
 6         . . . And the executive branch is getting punished or the
 7         charges are being dismissed.”

 8   (Id. at 16.)    Government counsel argued that “the U.S. Attorney’s
 9   Office doesn’t control the Court” and cannot force the issuance of
10   summons for jurors.     (Id. at 16, 17.)      He argued that it is
11   “impossible . . . to have a jury trial” without the summons and that
12   the forthcoming violation of the Speedy Trial Act is “not a result of
13   the government or the U.S. Attorney’s Office.”          (Id.)   The Court
14   agreed: “Right.     It’s because of the judges.”       (Id.)    Later in the
15   hearing, the Court emphasized again, “It’s not the government’s
16   fault.   I know the government’s ready . . . .”         (Id. at 20.)
17         On August 28, 2020, the government filed an ex parte application
18   to continue the trial date to December 1, 2020.          (Dkt No. 54.)     On
19   September 2, 2020, the Court denied the application and requested
20   that the Chief Judge issue jury summons.         (Dkt No. 67.)     The
21   following day, the Chief Judge issued an order denying the request
22   for jury summons.     (Dkt No. 68.)     During this period, defendant filed
23   a motion to suppress statements – over three years after his initial
24   appearance – and two motions in limine.         (Dkt Nos. 55, 58, 61.)
25         At a hearing on September 4, 2020, the Court stated that it
26   would entertain a motion to dismiss for violation of defendant’s
27   speedy trial rights.      On September 15, 2020, defendant filed the
28   instant motion.     (Dkt. No. 85.)     Based on the above procedural
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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 14 of 31 Page ID #:842



 1   history, the Speedy Trial Act currently requires that trial commence

 2   on or before October 27, 2020.

 3   III. ARGUMENT
 4         A.     Speedy Trial Act
 5         Defendant argues that the Court should dismiss the case with

 6   prejudice because of violations of the Speedy Trial Act and the Sixth

 7   Amendment.    (Mot. 5-7.)    Defendant is wrong.      His motion is premature

 8   because the Speedy Trial Act has not been violated and, therefore,

 9   the motion should be denied.       If the Court concludes otherwise and

10   believes dismissal is appropriate, then the Court should dismiss

11   without prejudice.     The seriousness of the drug-distribution charges,

12   the facts and circumstances leading to the dismissal, including a

13   once-in-a-lifetime pandemic, and the impact of reprosecution on the

14   administration of justice all counsel in favor of dismissal without

15   prejudice.

16                1.   Legal Standard

17         The Speedy Trial Act generally requires that a defendant’s trial

18   commence within 70 days of the filing of the indictment or the

19   defendant’s initial court appearance, whichever is later.            18 U.S.C.

20   § 3161(c)(1).     “If a defendant is not brought to trial within the

21   time limit required by section 3161(c) as extended by section

22   3161(h), the information or indictment shall be dismissed on motion

23   of the defendant.”     Id. § 3162(a)(2).      Whether to dismiss with or

24   without prejudice is left to the “guided discretion of the district

25   court.”    United States v. Taylor, 487 U.S. 326, 335 (1988).          The

26   statute does not prefer one remedy to the other.           Id.   The Speedy

27   Trial Act enumerates three factors, “among others,” that must be

28   considered in deciding whether to dismiss with or without prejudice:

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 15 of 31 Page ID #:843



 1   “seriousness of the offense; the facts and circumstances of the case

 2   which led to the dismissal; and the impact of a reprosecution on the

 3   administration of this chapter and on the administration of justice.”

 4   18 U.S.C. § 3162(a)(2).      The defendant has the burden of proof for a

 5   motion to dismiss based on a Speedy Trial Act violation.            Id.

 6               2.    No Speedy Trial Act Violation Has Occurred

 7         Defendant’s motion to dismiss should be denied as premature

 8   because the Speedy Trial Act has not been violated.           Defendant

 9   concedes that no such violation currently exists and that, at the

10   earliest, the violation would occur on October 28, 2020, assuming the

11   Court decides all pending pretrial motions.          (Mot. at 4.)    The Speedy

12   Trial Act makes clear that the time limit to bring defendant to trial

13   must run first and that a violation is a necessary condition before

14   the Court may dismiss under the statute.         18 U.S.C. § 3162(a)(2) (“If

15   a defendant is not brought to trial within the time limit required”)

16   (emphasis added).     Defendant cannot prospectively move to dismiss a

17   case before the time limit has expired, especially where, as

18   defendant concedes, changed circumstances may extend the time limit.

19   See 18 U.S.C. § 3161(h).

20               3.    Seriousness Of The Offenses

21         If the Court is inclined to dismiss the case based on the

22   forthcoming Speedy Trial Act violation, then the Court should dismiss

23   without prejudice because all the statutory factors weigh in favor of

24   permitting reprosecution.       The first factor – the seriousness of the

25   offense – militates in favor of dismissal without prejudice.

26         “Possession, use, and distribution of illegal drugs represent

27   one of the greatest problems affecting the health and welfare of our

28   population.”     Harmelin v. Michigan, 501 U.S. 957, 1002 (1991)

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 16 of 31 Page ID #:844



 1   (Kennedy, J., concurring) (quotation marks omitted).           The Ninth

 2   Circuit and district courts in this circuit have held that drug

 3   distribution is a serious crime.        See United States v. Medina, 524

 4   F.3d 974, 987 (9th Cir. 2008) (affirming dismissal without prejudice

 5   pursuant to the Speedy Trial Act because the district court found

 6   conspiracy and drug-distribution charges were serious); Taylor v.

 7   Lewis, 460 F.3d 1093, 1099 (9th Cir. 2006) (affirming a “three

 8   strikes” sentence of 25 years to life because the triggering offense

 9   of possessing 0.036 grams of cocaine was a serious offense); United

10   States v. Christie, 10–00384SOM, 2010 WL 2900371, at *4 (D. Haw. July

11   20, 2010) (“The nature of the offense weighs strongly in favor of

12   detention, as the distribution of drugs is a serious offense.”)

13   (citing United States v. Townsend, 897 F.2d 989, 994 (9th Cir.

14   1990)).

15         As the Court found at the September 3, 2019 hearing, the instant

16   case is “serious.”     (Dkt. No. 51, Tr. at 8.)       Defendant is charged

17   with 34 counts of prescribing and distributing controlled substances,

18   namely, oxycodone, amphetamine salts, alprazolam, and hydrocodone.

19   Twenty-five counts that relate to oxycodone and amphetamine salts

20   carry a maximum penalty of 20 years, two counts relating to

21   hydrocodone carry a maximum penalty of 10 years, and seven counts

22   relating to alprazolam carry a maximum penalty of 5 years.            21 U.S.C.

23   §§ 841(a)(1), (b)(1)(C), (b)(1)(E), (b)(2).          The maximum penalties

24   for the charges establish the seriousness of the offenses.            See

25   Medina, 524 F.3d at 987; United States v. Lewis, 611 F.3d 1172, 1180

26   (9th Cir. 2010) (finding six counts of intentional importation of

27   protected species “‘serious' within the context of the Speedy Trial

28   Act “because they carried maximum penalties of five years).

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 17 of 31 Page ID #:845



 1   Defendant’s offenses are, in fact, more serious and reprehensible

 2   than the average drug-related offense because he abused his position

 3   of trust as a licensed physician to perpetrate his crimes.            See

 4   United States v. Hill, 254 F. App’x 405, 407 (5th Cir. 2007)

 5   (affirming the above-guidelines sentence of 200 months’ imprisonment

 6   based, in part, on “the need for the sentence to reflect the

 7   seriousness of the offense” because “of the abuse of [the

 8   defendant’s] position of trust and his medical license” and because

 9   “he was ‘a drug dealer with a medical license’”).           Moreover, he

10   prescribed dangerous drugs to people whom he knew or should have

11   known were addicts in order to line his pockets.           See United States

12   v. Rutgard, 116 F.3d 1270, 1293 (9th Cir. 1997) (“That he took

13   advantage of vulnerable victims and abused trust was established

14   because, in a professional medical practice, trust between patient

15   and physician is essential . . . .”); United States v. Haj-Hamed, 549

16   F.3d 1020, 1025 (6th Cir. 2008) (holding that the defendant “breached

17   the trust given to him as a physician by selling prescriptions to the

18   most vulnerable in our population for his own profit”) (quotation

19   marks and citations omitted).

20         Defendant’s reliance on United States v. Clymer, 25 F.3d 831

21   (9th Cir. 1994), is misplaced.       (Mot. at 5.)     First, even in Clymer,

22   the Ninth Circuit concluded that the drug offenses in the case

23   (conspiracy to distribute and aiding and abetting the manufacture of

24   methamphetamine) were “undoubtedly serious,” which weighed against

25   dismissal with prejudice.       See Clymer, 25 F.3d at 831.       Second,

26   “Clymer is an anomaly.      Persuasive, though not binding, precedent

27   reveals that ‘dismissal without prejudice is the rule’ for drug

28   offenses.”    United States v. Ly, No. CR-00-0118, 2001 WL 1456751, at

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 18 of 31 Page ID #:846



 1   *3 (N.D. Cal. Nov. 14, 2001) (citing United States v. Nejdl, 773 F.

 2   Supp. 1288, 1298 (D. Neb. 1991)).        The Supreme Court adopted this

 3   approach in Taylor, 487 U.S. at 343-44, reversing the decisions of

 4   the district court and Court of Appeals and dismissing a defendant’s

 5   drug-related charges without prejudice because of a 15–day violation

 6   of the Speedy Trial Act.

 7         Accordingly, the seriousness of the charged offenses supports a

 8   dismissal without prejudice.

 9                4.   Facts And Circumstances Leading To Dismissal

10         The second factor, specifically, the facts and circumstances

11   leading to dismissal, similarly favors dismissal without prejudice.

12         In reviewing the circumstances of the case leading to dismissal,

13   the absence of evidence “that the Government acted in bad faith” or

14   of “any pattern of neglect” weighs in favor of dismissal without

15   prejudice.    Taylor, 487 U.S. at 339; United States v. White, 895 F.2d

16   1419 (9th Cir. 1990) (dismissal without prejudice was appropriate

17   because “[n]o showing was made that the prosecutor acted negligently

18   or in bad faith”).     Moreover, dismissal without prejudice is

19   appropriate where the defendant contributed to the unexcused delay or

20   agreed to continuances leading up to the dismissal.           Taylor, 487 U.S.

21   at 339 (the defendant’s “failure to appear” when the “Government was

22   prepared to go to trial on the 69th day of the indictment-to-trial

23   period” was “certainly relevant as ‘circumstances of the case which

24   led to the dismissal,’ and weigh[ed] heavily in favor of permitting

25   reprosecution”) (citation omitted); Medina, 524 F.3d at 981–82

26   (affirming dismissal without prejudice where “the continuances had

27   been agreed to by defense counsel”); United States v. Sandoval, No.

28   2:05-CR-348-JCM, 2009 WL 348269, at *1 (D. Nev. Feb. 6, 2009)

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 19 of 31 Page ID #:847



 1   (denying motion to dismiss because the defendant “was substantially

 2   responsible for any pre-trial delay” because “[s]ix separate

 3   stipulations were filed extending the trial date at [the defendant]’s

 4   request”).    Circumstances such as the brevity of the unexcludable

 5   delay and whether defendant is out on bond support dismissal without

 6   prejudice.    See Medina, 524 F.3d at 987 (concluding that a violation

 7   of the Speedy Trial Act is more serious when “the defendant is in

 8   detention pending the outcome of his criminal case”).           Finally, where

 9   there is no evidence of prejudice to the defendant, the government

10   should be allowed to reprosecute.        United States v. Story, 131 F.3d

11   150 (9th Cir. 1997) (affirming dismissal without prejudice where the

12   defendant “suffered no actual prejudice and that some of the delay

13   could be attributed directly to [the defendant], such as his late

14   substitution of a lawyer”).

15         Here, dismissal should be without prejudice because, if a

16   violation of the Speedy Trial Act occurs, it would not have been the

17   result of bad faith or negligence by the government.           The Court has

18   already found that “[i]t’s not the government’s fault. . . . [and

19   that] the government’s ready [for trial].”          (Dkt No. 52, Tr. at 20.)

20   A jury trial by October 27, 2020, is not possible because the Court

21   is not issuing summons for jurors in light of the COVID-19 pandemic.

22   (Dkt No. 68; see also Dkt No. 52, Tr. at 16 (“It breaks my heart that

23   it’s the Court that’s saying we will not have jury trials.            It breaks

24   my heart.    And I hear you.     You've been ready for trial in this case

25   a long time. . . .”).      The circumstances leading up to the

26   forthcoming Speedy Trial Act violation - a once in a lifetime

27   worldwide pandemic that no one foresaw and the decision of the

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 20 of 31 Page ID #:848



 1   majority of the district judges not to permit jury trials – weigh

 2   strongly in favor of dismissal without prejudice.

 3          Further, dismissal without prejudice is appropriate because

 4   defendant contributed to the delay and agreed to continuances leading

 5   up to the dismissal.      On January 15, 2019, approximately 18 months

 6   after defendant’s initial appearance, he terminated his attorney-

 7   client relationship with prior counsel.         (Dkt No. 27, at 2.)      On

 8   March 1, 2019, the Court appointed the Federal Public Defender as

 9   defense counsel.     (Dkt No. 28.)     Defendant requested eight

10   continuances of the trial date, including one over the objection of

11   the government.     On August 20, 2019, prior to the pandemic, defendant

12   filed an ex parte application to continue the trial date.            (Dkt No.

13   36.)   On September 3, 2019, at the hearing on the application, the

14   government objected to a continuance and argued that the trial should

15   proceed on November 5, 2019.       (Dkt No. 51, Tr. at 4-5.)       Over the

16   government’s objection, the Court granted defendant’s ex parte

17   application and continued the trial date.         (Dkt Nos. 39, 40.)      Under

18   these circumstances, where defendant contributed to the delay and

19   requested eight continuances, dismissal should be without prejudice.

20          In addition, the fact that no Speedy Trial Act violation

21   currently exists and the fact that defendant is not detained pending

22   trial weigh in favor of dismissal without prejudice.           The Speedy

23   Trial Act has not yet been violated.        Even if the Court were to

24   dismiss the case a month after October 27, 2020, such brevity of non-

25   excludable delay would support dismissal without prejudice.            Ly, 2001

26   WL 1456751, at *3 (“[W]here the violation of the Act involves months,

27   dismissal without prejudice is the remedy most ofte[n] selected for

28   drug cases.”) (quoting Nejdl, 773 F. Supp. at 1298); Clymer, 25 F.3d

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 21 of 31 Page ID #:849



 1   at 832 (relying on “a delay of five months” of non-excludable delay

 2   to conclude that the case should be dismissed with prejudice); White,

 3   895 F.2d at 1419 (citing United States v. Arango, 879 F.2d 1501, 1508

 4   (7th Cir. 1989) and concluding that “three-month delay not per se

 5   substantial enough to justify dismissal with prejudice”).            This is

 6   especially true, here, because defendant has not been detained

 7   pending trial.     He has not been deprived of his liberty since his

 8   initial appearance.     See Medina, 524 F.3d at 987 (affirming dismissal

 9   without prejudice even where defendant spent 21 unexcused days in

10   detention).

11         More importantly, defendant has not suffered any actual

12   prejudice to his trial preparation.         (Mot. at 7.)    Defendant does not

13   claim that a material witness cannot be located or that evidence has

14   been lost.    Clymer, 25 F.3d at 832 (finding prejudice because “one of

15   [the defendant]’s former co-defendants, who had agreed to testify on

16   his behalf, could no longer be located”).         Instead, defendant argues

17   that he has “lived with major disruption to his employment, drain on

18   his financial resources, subjection to public obloquy, and anxiety.”

19   (Mot. at 7.)    He, however, has offered no proof of these speculative

20   injuries and ignores the fact that he himself contributed to them by

21   requesting eight continuances of the trial date.           United States v.

22   Loud Hawk, 474 U.S. 302, 315 (1986) (“[P]ossibility of prejudice is

23   not sufficient to support respondents’ position that their speedy

24   trial rights were violated.”).       Defendant complains about effects

25   that almost all defendants experience in a criminal case.            He has not

26   established that these harms are the direct result of the forthcoming

27   Speedy Trial Act violation.       United States v. Gregory, 322 F.3d 1157,

28   1163 (9th Cir. 2003) (“The prejudice with which we are concerned is

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 22 of 31 Page ID #:850



 1   prejudice caused by the delay . . . not simply any prejudice that may

 2   have occurred before the trial date but unrelated to the fact of the

 3   delay itself.”); United States v. Williams, 576 F.3d 1149, 1159 (10th

 4   Cir. 2009) (“[T]he prejudice that a defendant must establish to seek

 5   a dismissal with prejudice for a Speedy Trial Act violation must be

 6   caused by that violation.”).       Thus, even if true, such effects on

 7   defendant did not rise to an unfair constraint on his liberty

 8   interests and does not support dismissal with prejudice.            United

 9   States v. Stewart, 390 F. App'x 657, 657–58 (9th Cir. 2010)

10   (affirming dismissal without prejudice because “the delay did not

11   impede [the defendant]’s ability to prepare a defense or otherwise

12   unfairly constrain his liberty”).

13         Accordingly, the facts and circumstances leading up to the

14   forthcoming Speedy Trial Act violation support dismissal without

15   prejudice.

16                5.   Impact Of Reprosecution On The Administration Of
                       Justice
17

18         The third factor, the impact of reprosecution on the

19   administration of justice, weigh in favor of dismissal without

20   prejudice.

21         The “most severe sanction [of dismissal with prejudice] is

22   appropriate where . . . [the] district courts and United States

23   Attorneys’ offices have failed to recognize or implement . . . long-

24   standing precedents.”      Clymer, 25 F.3d at 832.      “[R]eprosecution

25   would not negatively impact the administration of the act or of

26   justice generally” where “there was no evidence of any intention to

27   harass by repeated indictments and/or by delay,” Story, 131 F.3d at

28   150, or where there was “no evidence of purposeful wrongdoing on the

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 23 of 31 Page ID #:851



 1   part of the prosecutor,” United States v. Pena-Carrillo, 46 F.3d 879,

 2   882 (9th Cir. 1995).      In such cases, “[t]he purpose of deterring

 3   prosecutorial misconduct and delay would be little served by barring

 4   reprosecution in this case.”       Id. at 883.

 5         Here, neither the Court nor the U.S. Attorney’s Office is

 6   ignoring long-standing precedents.          The Court has explained that

 7   reasonable jurists have differing opinions on whether the Speedy

 8   Trial Act permits an ends-of-justice continuance based on the COVID-

 9   19 pandemic.    ((Dkt No. 51, Tr. at 9 [“[M]y position, which is

10   disagreed to by the great majority of the judges in Downtown Los

11   Angeles, is the [C]onstitution requires that we go forward.”].)

12   Almost every court that has addressed the impact of COVID-19 on a

13   defendant’s speedy trial right has concluded that time should be

14   excluded in the interest of justice.         See, e.g., United States v.

15   Diaz-Nivar, No. CR 20-38-JD, 2020 WL 3848200, at *3 (D.N.H. July 8,

16   2020) (collecting district court cases from multiple jurisdictions).

17   Moreover, as stated above, the Court has determined that the

18   government did not cause the forthcoming Speedy Trial Act violation

19   and that the violation is not the result of bad faith or negligence.

20   (Dkt No. 52, Tr. at 16, 20.)       The delay here is also not serious or

21   severe; indeed, the Speedy Trail Act violation has not yet even

22   occurred.

23         To conclude, the Court should deny defendant’s motion to dismiss

24   because it is premature and no violation under the Speedy Trial Act

25   has occurred.    If the Court were inclined to dismiss for a violation

26   of the Speedy Trial Act, the Court should dismiss without prejudice

27   because defendant is charged with serious offenses, there is no

28   evidence that the government has acted in bad faith or negligently,

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 24 of 31 Page ID #:852



 1   defendant contributed to the delay and agreed to continuances leading

 2   up to the dismissal, and defendant has not established any actual

 3   prejudice by the forthcoming violation.         “Dismissal without prejudice

 4   is not a toothless sanction: it forces the Government to obtain a new

 5   indictment if it decides to reprosecute, and it exposes the

 6   prosecution to dismissal on statute of limitations grounds.            Taylor,

 7   487 U.S. at 342.

 8         B.     Sixth Amendment
 9         Defendant also alleges that his Sixth Amendment right to a

10   speedy trial has been violated.        (Mot. 7-8.)    His argument is

11   unavailing because the length of the delay in this case is not

12   excessive and the delay is attributable to defendant’s own conduct,

13   specifically, his successive requests for continuances and his

14   decision to substitute counsel.        Moreover, defendant cannot establish

15   actual prejudice.

16                1.   Legal Standard

17         The Sixth Amendment guarantees that “[i]n all criminal

18   prosecutions, the accused shall enjoy the right to a speedy and

19   public trial.”     Under Barker v. Wingo, 407 U.S. 514, 530 (1972), the

20   courts review four factors in determining whether a defendant has

21   been deprived of his right to a speedy trial: (1) the length of the

22   delay; (2) the reason for the delay; (3) the defendant's assertion of

23   his right to a speedy trial; and (4) the prejudice to the defendant.

24   “[N]one of the four factors identified [is] either a necessary or

25   sufficient condition to the finding of a deprivation of the right of

26   speedy trial.     Rather, they are related factors and must be

27   considered together with such other circumstances as may be

28   relevant.”    Barker, 407 U.S. at 533.

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 25 of 31 Page ID #:853



 1               2.    Length Of Delay

 2         The first Barker factor, the length of the delay, does not weigh

 3   heavily in defendant’s favor.

 4         The length of the delay “is a threshold issue.”          United States

 5   v. Gregory, 322 F.3d 1157, 1161 (9th Cir. 2003).           Under the Sixth

 6   Amendment, delay is measured from “the time of the indictment to the

 7   time of trial.”     United States v. Sears, Roebuck & Co., 877 F.2d 734,

 8   739 (9th Cir. 1989).      “Although there is no bright-line rule, courts

 9   generally have found that delays approaching one year are

10   presumptively prejudicial” that require inquiry into the other Barker

11   factors.    Gregory, 322 F.3d at 1161-62.       The length is considered in

12   light of “the seriousness of the charges, the volume of discovery,

13   and the [complexity of the] evidence involved.”          Doyle v. Law, 464 F.

14   App'x 601, 603 (9th Cir. 2011).

15         Here, the length of the delay calculated from the time of the

16   indictment to October 27, 2020, is approximately 40 months.            This

17   amount of delay is not excessive, especially in light of the

18   seriousness of the charges, the volume of discovery, and the

19   complexity of the evidence involved.        United States v. King, 483 F.3d

20   969, 976 (9th Cir. 2007) (holding that “nearly two years” was “not

21   excessive” and “d[id] not seriously weigh in [the defendant]’s

22   favor”); Gregory, 322 F.3d at 1162 (“Given that the [22-month] delay

23   was not excessively long . . . it does not weigh heavily in [the

24   defendant]’s favor.”).      As explained above, defendant is facing 34

25   counts of prescribing and distributing controlled substances, namely,

26   oxycodone, amphetamine salts, alprazolam, and hydrocodone.            These

27   counts carry maximum penalties ranging from 5 to 20 years'

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 26 of 31 Page ID #:854



 1   imprisonment.     The Court has concluded that it is a “serious” case.

 2   (Dkt. No. 51, Tr. at 8.)

 3         As conceded by defense counsel in a prior court filing, the case

 4   involves an extraordinary volume of discovery and complicated

 5   evidence that require the retaining of an expert.           The instant case

 6   involves 35 counts relating to conduct that spans over 3 years and

 7   the discovery contains approximately 77,000 files, which is about 41

 8   GB.   (Dkt No. 36.)    Because these files include recordings of

 9   undercover patient visits and thousands of prescriptions for patients

10   named, the parties had to retain experts to review and analyze the

11   evidence.    (See Id.)

12         More importantly, there has not been any violation of the Speedy

13   Trial Act.    The Ninth Circuit has held that “it will be an unusual

14   case in which the time limits of the Speedy Trial Act have been met

15   but the sixth amendment right to speedy trial has been violated.”

16   United States v. Nance, 666 F.2d 353, 360 (9th Cir. 1982); United

17   States v. Baker, 63 F.3d 1478, 1497 (9th Cir. 1995) (“Speedy Trial

18   Act affords greater protection to a defendant’s right to a speedy

19   trial than is guaranteed by the Sixth Amendment, and therefore a

20   trial which complies with the Act raises a strong presumption of

21   compliance with the Constitution.”).        Therefore, a strong presumption

22   of compliance with the Sixth Amendment applies to the case at hand.

23         As such, the length of the delay does not substantially weigh in

24   defendant’s favor.

25                3.   The Reason For The Delay

26         The second Barker factor, the reason for the delay, weighs

27   substantially against a finding that the Sixth Amendment has been

28   violated.

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 27 of 31 Page ID #:855



 1         “[T]he reason for the delay . . . is the focal point of the

 2   [Barker] inquiry.”     King, 483 F.3d at 976.       “A deliberate attempt to

 3   delay the trial in order to hamper the defense should be weighted

 4   heavily against the government.”        Barker, 407 U.S. at 531.      Whereas,

 5   “[a] more neutral reason such as negligence or overcrowded courts

 6   should be weighted less heavily.”        Id.   “[A] valid reason, such as a

 7   missing witness, should serve to justify appropriate delay.”             Id.

 8   “On the other hand, delay attributable to the defendant’s own acts or

 9   to tactical decisions by defense counsel will not bolster defendant's

10   speedy trial argument.”      McNeely v. Blanas, 336 F.3d 822, 827 (9th

11   Cir. 2003).

12         In King, the Ninth Circuit held that the second Barker factor

13   weighed heavily against a Sixth Amendment violation.           There, the

14   district court had “granted continuances at the request of [the

15   defendant] and his attorney.”       King, 483 F.3d at 976.      The case was

16   also extraordinarily complex, involving banking and identity-theft

17   conspiracy.    Id.   The district judge even explained to the defendant

18   his the right to a speedy, after which the defendant agreed to

19   continuances.    Id.   Furthermore, “substituted a new attorney halfway

20   through the proceedings, which necessarily required the judge to

21   allow extra time for new counsel to prepare.”          Id.   Under these

22   circumstances, the Ninth Circuit held that there was no violation of

23   the Sixth Amendment.      Id. at 977.

24         The instant case mirrors King remarkably.         Here, defendant

25   requested eight continuances, including one over the objections of

26   the government.      See United States v. Shetty, 130 F.3d 1324, 1331

27   (9th Cir.1997) (reversal of conviction on speedy trial grounds not

28   warranted where defendant stipulated to continuances); United States

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 28 of 31 Page ID #:856



 1   v. Tanh Huu Lam, 251 F.3d 852, 857 (9th Cir.), as amended on denial

 2   of reh'g and reh'g en banc sub nom. United States v. Lam, 262 F.3d

 3   1033 (9th Cir. 2001) (where defense counsel asked for continuances

 4   and repeatedly stipulated to the case’s complexity).           This case, like

 5   King, is complex, requiring expert opinion.          Like the defendant in

 6   King, defendant here substituted new counsel nearly 18 months after

 7   defendant’s initial appearance, which prevented the trial from

 8   proceeding on June 10, 2019.       (Dkt Nos. 27, 36.)      Similar to the

 9   district court in King, the Court informed defendant of his speedy

10   trial rights, after which defendant agreed to a continuance.             (Dkt.

11   No. 51, Tr. at 8.)     Further, the Court has also held that the

12   government is not at fault for the delay since the Court at large

13   decided not to conduct jury trials.         (Dkt No. 52, Tr. at 16, 20.)

14   Thus, the second Barker factor substantially tilts in favor of

15   finding no Sixth Amendment violation.

16               4.    Defendant’s Assertion Of His Right

17         The third Barker factor does not weigh in favor of defendant.

18         “[A] defendant’s assertion of or failure to assert his right to

19   a speedy trial is one of the factors to be considered in an inquiry

20   into the deprivation of the [Sixth Amendment] right.”           Barker, 407

21   U.S. at 528.     “[A]n improper or untimely assertion of speedy trial

22   rights may weigh in favor of rejecting a defendant’s motion to

23   dismiss for violation of these rights, [but] the mere fact of proper,

24   timely assertion does not warrant dismissal.”          United States v.

25   Turner, 926 F.2d 883, 889 (9th Cir. 1991).          “These assertions,

26   however, must be viewed in the light of respondents’ other conduct.”

27   United States v. Loud Hawk, 474 U.S. 302, 314 (1986).           Where the

28   defendant made “successive requests for continuances” and was

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 29 of 31 Page ID #:857



 1   “responsible for much of the delay,” this factor is weighed against

 2   the defendant.     Lam, 251 F.3d at 859.

 3          As previously established, defendant was responsible for all of

 4   the delay in this case.      Defendant requested eight continuances of

 5   the trial date.     When the government sought to try him in November

 6   2019, he objected and filed an ex parte application to continue the

 7   trial.   Defendant also waited 18 months to substitute his prior

 8   counsel and waited over three years before filing a motion to

 9   suppress.    Based on his successive requests for continuances and

10   responsibility in causing the delay, the third Barker factor counsel

11   in favor of finding no Sixth Amendment violation.

12               5.    Prejudice To Defendant

13          Because defendant cannot prove prejudice, the fourth Barker

14   factor militates against a dismissal on Sixth Amendment grounds.

15          “[W]hether actual prejudice must be shown for delays caused by

16   the government’s negligence depends on the length of the delay and

17   the facts of the case.”      United States v. Martinez-Alcala, 578 F.

18   App'x 650, 651 (9th Cir. 2014).        “In certain extreme circumstances,

19   ‘when the delay is great and attributable to the government,’ the

20   defendant need not show prejudice.”         United States v. Myers, 930 F.3d

21   1113, 1120 n.5 (9th Cir. 2019) (quoting Gregory, 322 F.3d at 1162-

22   63.)   “Where the delay is not ‘great,’ on the other hand, courts may

23   require a showing of prejudice, even where each factor weighs in

24   favor of the defendant.”      Martinez-Alcala, 578 F. App'x at 651; see

25   also Gregory, 322 F.3d at 1165 (holding that a 22–month delay did not

26   excuse the defendant from demonstrating actual prejudice).            Thus, the

27   Court must “weigh the reasons for and the extent of the delay against

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 30 of 31 Page ID #:858



 1   the evidence of actual prejudice.”          United States v. Beamon, 992 F.2d

 2   1009, 1013 (9th Cir. 1993).

 3          Here, the delay from indictment to October 27, 2020, (about 40

 4   months) is not great.      More importantly, all of the delay is

 5   attributable to defendant.       Defendant requested eight continuances up

 6   to October 13, 2020.      Any delay, thereafter, is also not attributable

 7   to the government.     The Court at large has determined that jury

 8   trials cannot proceed without placing prospective jurors, courtroom

 9   staff, counsel, and litigants at risk.         (Dkt No. 68.)    The government

10   cannot compel the Court to issue summons for jurors.           (Dkt No. 52,

11   Tr. at 16-17.)     Because the delay is attributable to defendant,

12   defendant must still establish actual prejudice.           United States v.

13   Krug, 666 F. App'x 665, 667-68 (9th Cir. 2016) (34-month delay, with

14   20 months attributable to government negligence, did not relieve

15   defendant from showing actual prejudice).

16         Defendant cannot show actual prejudice.         He has not been

17   detained pending trial.      He alleges no loss of evidence or material

18   witnesses.    All that defendant can claim is that he has suffered

19   “great stress and anxiety” and has not been able to prescribe

20   controlled substances.      (Mot. at 8.)     However, as stated above,

21   defendant cannot attribute these alleged prejudices to the speedy

22   trial violation.     Gregory, 322 F.3d at 1163; United States v.

23   Guerrero, 756 F.2d 1342, 1350 (9th Cir. 1984) (Sixth Amendment claim

24   failed where the defendant “has not sufficiently shown any causal

25   relationship between the delay and the unavailability of two

26   witnesses who [the defendant] claims would have testified to being

27   with him on the day of the robbery”).         The alleged “stress and

28   anxiety” defendant asserts resulted from the fact of his arrest, not

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     Case 8:17-cr-00076-CJC Document 92 Filed 09/22/20 Page 31 of 31 Page ID #:859



 1   from any delay.     United States v. Simmons, 536 F.2d 827, 831–32 (9th

 2   Cir. 1976) (“Conclusory allegations of general anxiety and depression

 3   are present in almost every criminal prosecution.           We find nothing in

 4   the record which distinguishes the emotional strain experienced by

 5   Simmons from other criminal defendants.”).          Similarly, his alleged

 6   “financial instability” caused by his inability to prescribe

 7   controlled substances – a bond condition meant to protect the public

 8   – is speculative and not a result of a delay caused by the

 9   government.    United States v. Corona-Verbera, 509 F.3d 1105, 1113

10   (9th Cir. 2007) (no actual prejudice where defendant offered no non-

11   speculative proof of how defense impaired)

12         Accordingly, defendant must establish actual prejudice and he

13   has failed to do so.

14   IV.   CONCLUSION
15         For the foregoing reasons, defendant’s motion to dismiss should

16   be denied as premature because no Speedy Trial Act or Sixth Amendment

17   violation has occurred.      If the Court is inclined to dismiss the

18   case, the Court should dismiss without prejudice.

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